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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION


 UNITED STATES OF AMERICA                      )
                                               )
          v.                                   )             CASE NO.: 1:14-CR-52-TLS
                                               )
 TOYA A. DENHAM                                )


                ORDER ACCEPTING FINDINGS AND RECOMMENDATION

          This matter is before the Court on the Findings and Recommendation of the United States

 Magistrate Judge [ECF No. 53], filed on September 17, 2015. The Defendant has waived

 objection to the Findings and Recommendation, and the Court, being duly advised, adopts the

 Findings and Recommendation [ECF No. 53] in its entirety and accepts the recommended

 disposition. Subject to this Court’s consideration of the Plea Agreement pursuant to Federal Rule

 of Criminal Procedure 11(c), the plea of guilty to the offense charged in Count Three (3) of the

 Indictment is hereby accepted, and the Defendant is adjudged guilty of such offense.

          The notice of sentencing and pre-sentence scheduling deadlines will be issued by separate

 order.

          SO ORDERED on October 6, 2015.

                                               s/ Theresa L. Springmann
                                               THERESA L. SPRINGMANN
                                               UNITED STATES DISTRICT COURT
